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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

MABVAX THERAPEUTICS HOLDINGS,                                Case No. 19-10603 (JTD)
INC., et al.,1
                                                             Jointly Administered
                      Debtors.
                                                             Hearing Date: Sept. 21, 2020 at 2:00 p.m. (ET)
                                                             Obj. Deadline: Sept. 9, 2020 at 4:00 p.m. (ET)

                                                             Re: D.I. 350 & 351


                              NOTICE OF MOTIONS AND HEARING

       PLEASE TAKE NOTICE that on August 26, 2020, David Hansen, in his capacity as Plan
Administrator for the Post-Effective bankruptcy estates of MabVax Therapeutics Holdings, Inc.
and MabVax Therapeutics, Inc. filed the (i) Motion by Plan Administrator for Entry of an Order
Pursuant to Bankruptcy Rule 9019 Approving Settlement Agreement (the “Settlement Motion”)
[D.I. 350]; and (ii) Motion of the Plan Administrator to File Under Seal the Motion by Plan
Administrator for Entry of an Order Pursuant to Bankruptcy Rule 9019 Approving Settlement
Agreement (the “Seal Motion” and together with the Settlement Motion, the “Motions”) [D.I. 351]
with the United States Bankruptcy Court for the District of Delaware (the “Court”).

        PLEASE TAKE FURTHER NOTICE that objections or responses, if any, to the
Motions must be filed with the clerk of the United States Bankruptcy Court for the District of
Delaware, 824 N. Market Street, 3rd Floor, Wilmington, Delaware 19801, on or before September
9, 2020 at 4:00 p.m. (ET) (the “Objection Deadline”). At the same time, you must serve a copy
of the objection or response upon the undersigned counsel to the Debtors so as to be received on
or before the Objection Deadline.

       PLEASE TAKE FURTHER NOTICE that, if an objection or response is timely filed,
served and received, and such objection or response is not otherwise timely resolved, a hearing
with respect to the Motions will be held before the Honorable John T. Dorsey, United States
Bankruptcy Judge, 824 N. Market Street, 5th Floor, Courtroom #5, Wilmington, Delaware 19801
on September 21, 2020 at 2:00 p.m. (ET).




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 The last four digits of the taxpayer identification numbers of the “Debtors” and “Debtors-in-Possession” follow in
parentheses: (i) MabVax Therapeutics Holdings, Inc. (7903) and (ii) MabVax Therapeutics, Inc. (1765). The Debtors’
mailing address is 11535 Sorrento Valley Road, Suite 400, San Diego, CA 92121.


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     PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTION OR RESPONSE
IS RECEIVED IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY ENTER
THE RELIEF REQUESTED IN THE MOTIONS WITHOUT FURTHER NOTICE OR
HEARING.

 Dated: August 26, 2020            THE ROSNER LAW GROUP LLC
        Wilmington, Delaware
                                   /s/ Jason A. Gibson
                                   Frederick B. Rosner (DE # 3995)
                                   Scott J. Leonhardt (DE # 4885)
                                   Jason A. Gibson (DE # 6091)
                                   Zhao (Ruby) Liu (DE# 6436)
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                                   Attorneys for the Plan Administrator




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